                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS,
                                     EASTERN DIVISION

    RICHARD ROGERS, individually and on             )
    behalf of similarly situated individuals,       )
                                                    )
              Plaintiff,                            )          No. 19-CV-08083
                                                    )
                             v.                     )
                                                    )          Hon. Matthew F. Kennelly
    BNSF RAILWAY COMPANY, a                         )
    Delaware corporation,                           )          Jury Trial Demanded
                                                    )
              Defendant.                            )

                      SECOND AMENDED CLASS ACTION COMPLAINT

         Plaintiff Richard Rogers (“Plaintiff”), individually and on behalf of other similarly situated

individuals, brings this Second Amended Class Action Complaint against Defendant BNSF

Railway (“Defendant” or “BNSF”) for its violations of the Illinois Biometric Information Privacy

Act, 740 ILCS 14/1, et seq. (“BIPA”), and to obtain redress for all persons injured by Defendant’s

conduct. Plaintiff alleges as follows based on personal knowledge as to his own acts and

experiences, and as to all other matters, upon information and belief, including an investigation

conducted by his attorneys.

                                         INTRODUCTION

         1.      BIPA defines a “biometric identifier” as any personal feature that is unique to an

individual, including fingerprints and hand geometry. “Biometric information” is any information

based on a biometric identifier, regardless of how it is converted or stored. Collectively, biometric

identifiers and biometric information are known and referred to herein as “biometrics.” 740 ILCS

14/10.




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        2.       Defendant is one of the largest freight railroad networks and railroad operators in

North America.

        3.       Defendant requires truck drivers, including Plaintiff, who visit its four intermodal

facilities located in Illinois, to provide their biometric identifiers in the form of fingerprints and

related biometric information as part of the process of accessing the facilities.

        4.       The unique nature of biometric identifiers allows private entities, such as

Defendant, to instantly gather an accurate “signature” of visitors to its facilities.

        5.       BIPA provides, inter alia, that a private entity, such as Defendant, may not collect,

capture, purchase, or otherwise obtain an individual’s biometric identifiers, such as fingerprints

and hand scans, or any biometric information, including any data regardless of the manner it is

converted or stored, unless it first:

             a. informs that person in writing that biometric identifiers or biometric information

                will be collected or stored;

             b. informs that person in writing of the specific purpose and the length of term for

                which such biometric identifiers or biometric information is being collected, stored

                and used; and

             c. receives a written release from the person for the collection of their biometric

                identifiers or biometric information.

740 ILCS 14/15(b)(1)–(3).

        6.       Indeed, “biometrics are unlike other unique identifiers that are used to access

finances or other sensitive information,” (740 ILCS 14/5), and therefore require special treatment

compared to traditional private personal information. For example, even sensitive information like

Social Security numbers, when compromised, can be changed. “Biometrics, however, are



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biologically unique to each individual and therefore, once compromised, such individual has no

recourse, is at a heightened risk for identity theft in, and is likely to withdraw from biometric

facilitated transactions.” 740 ILCS 14/5.

        7.      Plaintiff brings this action for statutory damages and other remedies as a result of

Defendant’s conduct in violating his biometric privacy rights under BIPA.

        8.      Compliance with BIPA is straightforward and minimally burdensome. For

example, the necessary disclosures and consent may be accomplished through a single signed sheet

of paper or its electronic equivalent. Indeed, other rail operators attempt to gain informed written

consent for the collection of biometrics in Illinois.

        9.      BIPA’s requirements bestow a right to privacy in biometrics and a right to make an

informed decision when individuals determine whether they will provide or withhold their

biometrics.

        10.     On behalf of himself and the proposed Class defined below, Plaintiff seeks an

injunction requiring Defendant to comply with BIPA, as well as an award of statutory damages to

the Class members and monetary damages to be determined at trial, together with costs and

reasonable attorneys’ fees.

                                              PARTIES

        11.     Defendant is a Delaware company that conducts, and is licensed by the Illinois

Secretary of State to conduct, business in Illinois. Defendant is headquartered in Texas and

conducts business throughout Illinois and Cook County.

        12.     At all relevant times, Plaintiff has been a resident and citizen of the state of Illinois

and visited Defendant’s facilities in Illinois, including within this District.




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                                 JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction over this matter pursuant to the Class

Action Fairness Act, 28 U.S.C. §1322(d) et seq., because this case is a class action in which the

amount in controversy exceeds the sum or value of $5,000,000.00 exclusive of interest and costs;

there are greater than 100 putative class members; at least one putative class member is a citizen

of a state other than Defendant’s states of citizenship; and none of the exceptions under subsection

1332(d) apply to this instant action.

       14.     This Court may assert personal jurisdiction over Defendant because it conducts

substantial business throughout Illinois, including in this District.

                              FACTS SPECIFIC TO PLAINTIFF

       15.     During the relevant time period, Plaintiff worked as a truck driver for a third-party

logistics company.

       16.     Plaintiff’s work as a truck driver required him to visit various railyards, including

the Illinois facilities owned and operated by Defendant. At Defendant’ facilities, Plaintiff was

required to register his biometric identifiers and/or biometric information into biometrically-

enabled Auto-Gate Systems that partially control ingress and egress at the facilities.

       17.     Thereafter, on subsequent visits to Defendant’s Illinois facilities, Plaintiff was

required to provide his fingerprint to Defendant for scanning.

       18.     Using the Auto-Gate Systems, Defendant collected, captured, stored, and otherwise

obtained biometric identifiers and associated biometric information from Plaintiff and other truck

drivers.

       19.     Although Defendant collected, captured, and stored biometric identifiers and

biometric information, it failed to provide any written disclosures describing the purpose and



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duration of such use and failed to obtain informed written consent from Plaintiff and other truck

drivers prior to collecting, capturing and storing such information, as required by BIPA.

                                    CLASS ALLEGATIONS

        20.     Pursuant to Fed. R. Civ. P. 23, Plaintiff brings this action on behalf of himself

and a class of similarly situated individuals defined as follows:

        All individuals whose fingerprint information was registered using an Auto-Gate System
        at one of BNSF’s four Illinois facilities at any time between April 4, 2014 and January 25,
        2020.

        21.    Excluded from the Class are any members of the judiciary assigned to preside over

this matter; any officer or director of Defendant; and any immediate family member of such officer

or director.

        22.    There are at least 44,000 members of the Class, making the members of the Class

so numerous that joinder of all members is impracticable.

        23.    Plaintiff’s claims are typical of the claims of the Class he seeks to represent,

because the basis of Defendant’s liability to Plaintiff and the Class is substantially the same, and

because Defendant’s conduct has resulted in similar injuries to Plaintiff and to the Class.

        24.    There are many questions of law and fact common to the claims of Plaintiff and the

Class, and those questions predominate over any questions that may affect individual members of

the Class. Common questions for the Class include, but are not limited to, the following:

               a.    Whether the Auto-Gate Systems collect, capture, or otherwise obtain

                     biometric identifiers or biometric information;

               b.    Whether Defendant owns and/or controls the biometric information captured

                     from the Class;

               c.    Whether Defendant obtained informed written consent from the Class before



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                     capturing, collecting, or otherwise obtaining their biometric identifiers or

                     biometric information;

               d.    Whether Defendant’s conduct violates BIPA;

               e.    Whether Defendant’s BIPA violations were willful or reckless; and

               f.    Whether Plaintiff and the Class are entitled to damages and injunctive relief.

       25.     Absent a class action, most members of the Class would find the cost of litigating

their claims to be prohibitively expensive and would thus have no effective remedy. The class

treatment of common questions of law and fact is superior to multiple individual actions or

piecemeal litigation in that it conserves the resources of the courts and the litigants and promotes

consistency and efficiency of adjudication.

       26.     Plaintiff will fairly and adequately represent and protect the interests of the other

members of the Class he seeks to represent. Plaintiff has retained counsel with substantial

experience in prosecuting complex litigation and class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class and

have the financial resources to do so. Neither Plaintiff nor his counsel has any interest adverse to

those of the other members of the Class.

       27.     Defendant has acted and failed to act on grounds generally applicable to the

Plaintiff and the other members of the Class, requiring the Court’s imposition of uniform relief to

ensure compatible standards of conduct toward the members of the Class and making injunctive

or corresponding declaratory relief appropriate for the Class as a whole.

                                          COUNT I
        Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq.
            (On behalf of Plaintiff and the Class and against Defendant BNSF)

       28.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.



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          29.   Defendant is a private entity under BIPA.

          30.   Defendant collects, captures, receives through trade, or otherwise obtains Plaintiff’s

and Class members’ biometric identifiers and/or biometric information through its Illinois Auto-

Gate Systems.

          31.   In violation of 740 ILCS 14/15(b)(1), Defendant failed to inform Plaintiff and the

Class members that their biometric identifiers or biometric information were being collected or

stored prior to such collection or storage.

          32.   In violation of 740 ILCS 14/15(b)(2), Defendant failed to inform Plaintiff and the

Class members of the specific purpose and length of term for which their biometric identifiers or

biometric information were being collected, stored and used prior to such collection, storage or

use.

          33.   In violation of 740 ILCS 14/15(b)(3), Defendant failed to obtain informed written

consent, and thus failed to receive a written release, from Plaintiff and the Class members prior to

collecting, capturing, receiving through trade, or otherwise obtaining their biometric identifiers

and/or biometric information.

          34.   BIPA provides for statutory damages of $5,000 for each willful and/or reckless

violation of BIPA and, alternatively, damages of $1,000 for each negligent violation of the BIPA.

          35.   Defendant’s violations of BIPA, as set forth herein, were knowing and willful, or

were at least in reckless disregard of the statutory requirements. Alternatively, Defendant

negligently failed to comply with BIPA in the course of its conduct, or omissions, as set forth

herein.

          36.   Accordingly, Plaintiff, on behalf of himself and the proposed Class, prays for the

relief set forth below.



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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the proposed Class, respectfully

requests that this Court enter an Order:

           a. Certifying the Class as defined above, appointing Plaintiff as class representative

               and the undersigned as class counsel;

           b. Declaring that Defendant’s actions, as set forth herein, violate BIPA;

           c. Awarding injunctive and equitable relief as necessary to protect the interests of

               Plaintiff and the Class by requiring Defendant to comply with BIPA;

           d. Awarding statutory damages of $5,000 for each willful and/or reckless violation of

               the BIPA, pursuant to 740 ILCS 14/20(1);

           e. Awarding statutory damages of $1,000 for each negligent violation of the BIPA,

               pursuant to 740 ILCS 14/20(3);

           f. Awarding reasonable attorneys’ fees, costs, and other litigation expenses, pursuant

               to 740 ILCS 14/20(3);

           g. Awarding pre- and post-judgment interest, as allowable by law; and

           h. Awarding such further and other relief as the Court deems just and equitable.

                                           JURY DEMAND

       Plaintiff requests trial by jury of all claims that can be so tried.


Dated: September 10, 2021                      Respectfully Submitted,

                                               RICHARD ROGERS, individually and on
                                               behalf of a class of similarly situated individuals


                                       By:     /s/ David L. Gerbie
                                               One of Plaintiff’s Attorneys



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                                 CERTIFICATE OF SERVICE

       I certify that on September 10, 2021 I filed the foregoing Plaintiff’s Second Amended

Complaint with the Clerk of Court using the CM/ECF system. A copy of said document will be

electronically transmitted to all counsel of record.



                                                       /s/David L. Gerbie




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